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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                       :
                                               :       CASE NO. 21-cr-118 (RCL)
               v.                              :
                                               :
ERIC MUNCHEL and                               :
LISA EISENHART,                                :
                                               :
                       Defendant.              :


                    GOVERNMENT’S OPPOSITION TO DEFENDANT’S
                          MOTION TO TRANSFER VENUE


       Defendants Munchel and Eisenhart, who are charged in connection with events at the U.S.

Capitol on January 6, 2021, have moved to transfer venue in this case to the Middle District of

Tennessee (ECF Nos. 162, 175). Defendant Eisenhart also requests a change to the Northern

District of Georgia (ECF No. 175 at 20). Both defendants filed motions to adopt. ECF No. 178 and

182. In both motions, the defendants fail to establish that they “cannot obtain a fair and impartial

trial” in this district, Fed. R. Crim. P. 21(a), and this Court should deny their motion. 1



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  Judges on this Court (including this Court, see United States v. Brooks, No. 21-cr-503, ECF No.
31 (D.D.C. Jan. 24, 2022) (RCL)) have denied motions for change of venue in dozens of January
6 prosecutions, and no judge has granted a change of venue in a January 6 case. See, e.g., United
States v. Ramey, 22-cr-184, Minute Entry (D.D.C. Jan. 30, 2023) (DLF); United States v.
Eckerman, et al., No. 21-cr-623, Minute Order (D.D.C. Jan. 26, 2023) (CRC); United States v.
Pollock, et al., No. 21-cr-447, Minute Entry (D.D.C. Jan. 25, 2023) (CJN); United States v.
Gossjankowski, No. 21-cr-12, ECF No. 114 (D.D.C. Jan. 25, 2023) (PLF); United States v. Adams,
No. 21-cr-212, ECF No. 60 (D.D.C. Jan. 24, 2023) (ABJ); United States v. Rhine, No. 21-cr-687,
ECF No. 78 (D.D.C. Jan. 24, 2023) (RC); United States v. Oliveras, No. 21-cr-738, ECF No. 52
(D.D.C. Jan. 17, 2023) (BAH); United States v. Sheppard, No. 21-cr-203, ECF No. 62 (D.D.C.
Dec. 28, 2022) (JDB); United States v. Samsel, et al., No. 21-cr-537, ECF No. 227 (D.D.C. Dec.
14, 2022) (JMC); United States v. Gillespie, No. 22-cr-60, ECF No. 41 (D.D.C. Nov. 29, 2022)
(BAH); United States v. Barnett, No. 21-cr-38, ECF No. 90 (D.D.C. Nov. 23, 2022) (CRC); United
States v. Bender, et al., No. 21-cr-508, ECF No. 78 (D.D.C. Nov. 22, 2022) (BAH); United States
v. Sandoval, No. 21-cr-195, ECF No. 88 (D.D.C. Nov. 18, 2022) (TFH); United States v. Vargas
Santos, No. 21-cr-47, Minute Entry (D.D.C. Nov. 16, 2022) (RDM); United States v. Nordean, et


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                                          BACKGROUND

       On January 6, 2021, a Joint Session of the United States House of Representatives and the

United States Senate convened to certify the vote of the Electoral College of the 2020 U.S.

Presidential Election. While the certification process was proceeding, a large crowd gathered

outside the United States Capitol, entered the restricted grounds, and forced entry into the Capitol

building. As a result, the Joint Session and the entire official proceeding of the Congress was

halted until law enforcement was able to clear the Capitol of hundreds of unlawful occupants and

ensure the safety of elected officials.

       On January 4, 2021, Defendant Lisa Eisenhart checked into a room at Grand Hyatt in

Washington, D.C. On January 6, 2021, Grand Hyatt CCTV captured Defendant Eisenhart leaving

the hotel with her son, Defendant Eric Munchel, at approximately 12:37pm. In both the hotel



al., No. 21-cr-175, ECF No. 531 (D.D.C. Nov. 9, 2022) (TJK); United States v. Ballenger, No. 21-
719, ECF. No. 75 (D.D.C. Oct. 28, 2022) (JEB); United States v. Eicher, No. 22-cr-38, ECF No.
34 (D.D.C. Oct. 20, 2022) (CKK); United States v. Schwartz, et al., No. 21-cr-178, ECF No. 142
(D.D.C. Oct. 11, 2022) (APM); United States v. Nassif, No. 21-cr-421, ECF No. 42 (D.D.C. Sep.
12, 2022) (JDB); United States v. Brock, No. 21-cr-140, ECF No. 58 (D.D.C. Aug. 31, 2022)
(JDB); United States v. Jensen, No. 21-cr-6, Minute Entry (D.D.C. Aug. 26, 2022) (TJK); United
States v. Seitz, No. 21-cr-279, Minute Order (D.D.C. Aug. 17, 2022) (DLF); United States v.
Strand, No. 21-cr-85, ECF No. 89 (D.D.C. Aug. 17, 2022) (CRC); United States v. Williams, No.
21-cr-618, ECF No. 63 (D.D.C. Aug. 12, 2022) (ABJ); United States v. Herrera, No. 21-cr-619,
ECF No. 54 (D.D.C. August 4, 2022) (BAH); United States v. Garcia, No. 21-cr-129, ECF No. 83
(D.D.C. July 22, 2022) (ABJ); United States v. Rusyn, et al., No. 21-cr-303, Minute Entry (D.D.C.
July 21, 2022) (ABJ); United States v. Bledsoe, No. 21-cr-204, Minute Order (D.D.C. July 15,
2022) (BAH); United States v. Calhoun, No. 21-cr-116, Minute Order (D.D.C. July 11, 2022)
(DLF); United States v. Rhodes, et al., No. 22-cr-15, ECF No. 176 (D.D.C. June 28, 2022) (APM);
United States v. Williams, No. 21-cr-377, Minute Entry (D.D.C. June 10, 2022) (BAH); United
States v. McHugh, No. 21-cr-453, Minute Entry (D.D.C. May 4, 2022) (JDB); United States v.
Hale-Cusanelli, No. 21-cr-37, Minute Entry (D.D.C. Apr. 29, 2022) (TNM); United States v.
Webster, No. 21-cr-208, ECF No. 78 (D.D.C. Apr. 18, 2022) (APM); United States v. Alford, 21-
cr-263, ECF No. 46 (D.D.C. Apr. 18, 2022) (TSC); United States v. Bochene, No. 21-cr-418, ECF
No. 31 (D.D.C. Jan. 12, 2022) (RDM); United States v. Fitzsimons, No. 21-cr-158, Minute Order
(D.D.C. Dec. 14, 2021) (RC); United States v. Reffitt, No. 21-cr-32, Minute Order (D.D.C. Oct.
15, 2021) (DLF); United States v. Caldwell, 21-cr-28, ECF No. 415 (D.D.C. Sept. 14, 2021)
(APM).


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CCTV and media from Capital grounds, Munchel and Eisenhhart can be seen wearing tactical

vests. On Capitol grounds, Munchel is also seen wearing all black: fatigues, hat (manufactured by

Black Rifle Coffee Company), gator, and boots. Munchel’s vest was fitted with a “Punisher” comic

book character patch and a patch in the shape of Tennessee with a thin blue line. Eishenhart wore

a red Trump knit hat.

         On Capitol grounds, Munchel recorded Eisenhart shouting “Fight them, don’t let them in”

and “We can’t let them get a hold because they’re going to gas us out,” apparently with reference

to police. Eisenhart was also recorded stating, “Let’s go, let’s go in.” Eisenhart asked others if

they were entering the Capitol, Munchel responded that “We’re not asking.” When another person

in the crowd commented that construction for the “stupid inauguration” would not be necessary,

Eisenhart responded, “that’s right.” While still outside of the Capitol building, Eisenhart cheered

in response to hearing that Congress had been tear-gassed. Once past scaffolding, Munchel

remarked that it would be the last time he would be able to enter the Capitol with weapons and

armor.

         Once inside the Capitol, Eisenhart joined others chanting “treason.” Munchel observed zip

ties in a closet and grabbed a handful. Munchel also admonished others not to engage in

vandalism. Munchel and Eisenhart entered the Senate gallery where Munchel was photographed,

still holding the zip ties, jumping over a railing. Also visible is an item, in a holster, on his right

hip. Munchel commented, “I want that fucking gavel.” Eisenhart and Munchel subsequently made

their way out of the building and eventually back to the hotel. Law enforcement officers

encountered Munchel at the hotel, later in the evening on January 6, 2021. Munchel was in

possession of a holstered taser.




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       Based on their actions on January 6, 2021, both defendants are jointly charged with

conspiracy to commit obstruction in violation of 18 U.S.C. § 1512(k) (Count 1); obstruction of an

official proceeding, in violation of 18 U.S.C. §§ 1512(c)(2), and 2 (Count 2); entering and

remaining in the gallery of the House or Congress in violation of in violation of 40 U.S.C. §

5104(e)(2)(B) (Count 8); disorderly and disruptive conduct in a Capitol Building in violation of

40 U.S.C. § 5104(e)(2)(D) (Count 9); and parading, demonstrating, or picketing in a Capitol

Building, in violation of 40 U.S.C. § 5104(e)(2)(G) (Count 10). In addition, Munchel is separately

charged with disorderly conduct and violence in a restricted building or grounds with a deadly or

dangerous weapon, in violation of 18 U.S.C. § 1752(a)(1), (a)(2), and (b) (Counts 3 and 5), and

unauthorized possession of a deadly or dangerous weapon on Capitol grounds or in a Capitol

Building in violation of 40 U.S.C. § 5104(e)(1)(A) (Count 7). Eisenhart is separately charged with

disorderly conduct in a restricted building or grounds in violation of 18 U.S.C. § 1752(a)(1) and

(2) (Counts 4 and 6).

       The defendants now move for a change of venue. ECF No. 162, 175, 178, and 182. Both

contend that prejudice should be presumed in this district for several reasons: (1) the characteristics

of the D.C. jury pool, (2) the pretrial publicity surrounding the events of January 6, (3) the results

of a media analysis, and (4) the results of survey of potential jurors. Each of the defendant’s

arguments is without merit, and the motion should be denied.

                                           ARGUMENT

       The Constitution provides that “[t]he trial of all Crimes . . . shall be held in the State where

the said Crimes shall have been committed.” U.S. Const. Art. III, § 2, cl. 3. The Sixth Amendment

similarly guarantees the right to be tried “by an impartial jury of the State and district wherein the

crime shall have been committed.” U.S. Const. amend. VI. These provisions provide “a safeguard




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against the unfairness and hardship involved when an accused is prosecuted in a remote place.”

United States v. Cores, 356 U.S. 405, 407 (1958). Transfer to another venue is constitutionally

required only where “extraordinary local prejudice will prevent a fair trial.” Skilling v. United

States, 561 U.S. 358, 378 (2010); see Fed. R. Crim. P. 21(a) (requiring transfer to another district

if “so great a prejudice against the defendant exists in the transferring district that the defendant

cannot obtain a fair and impartial trial there”).

       The primary safeguard of the right to an impartial jury is “an adequate voir dire to identify

unqualified jurors.” Morgan v. Illinois, 504 U.S. 719, 729 (1992) (italics omitted). Thus, the best

course when faced with a pretrial publicity claim is ordinarily “to proceed to voir dire to ascertain

whether the prospective jurors have, in fact, been influenced by pretrial publicity.” United States

v. Campa, 459 F.3d 1121, 1146 (11th Cir. 2006) (en banc). “[I]f an impartial jury actually cannot

be selected, that fact should become evident at the voir dire.” United States v. Haldeman, 559 F.2d

31, 63 (D.C. Cir. 1976) (en banc) (per curiam). And, after voir dire, “it may be found that, despite

earlier prognostications, removal of the trial is unnecessary.” Jones v. Gasch, 404 F.2d 1231, 1238

(D.C. Cir. 1967).

I.     The Characteristics of the District of Columbia’s Jury Pool Do Not Support a Change
       of Venue.

       The defendants also contend that a D.C. jury cannot be impartial because of various

characteristics of the District’s jury pool: the political makeup of the District’s electorate and the

impact of January 6 on D.C. residents. ECF 175 at 3. None of these claims has merit.

       A.      The District of Columbia’s political makeup does not support a change of
               venue.

       The defendant contends that they cannot obtain a fair trial in the District of Columbia

because many of the residents are Democrats who followed January 6th coverage. ECF No. 175




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at 9. The en banc D.C. Circuit rejected a nearly identical claim in Haldeman, where the dissent

concluded that a venue change was required because “Washington, D.C. is unique in its

overwhelming concentration of supporters of the Democratic Party” and the Democratic candidate

received 81.8% and 78.1% of the vote when Nixon ran for President in 1968 and 1972,

respectively. Haldeman, 559 F.2d at 160 (MacKinnon, J., concurring in part and dissenting in

part). The majority rejected the relevance of this fact, observing that authority cited by the dissent

gave no “intimation that a community’s voting patterns are at all pertinent to venue.” Id. at 64

n.43; see also United States v. Chapin, 515 F.2d 1274, 1286 (D.C. Cir. 1975) (rejecting the

argument that “because of [the defendant’s] connection with the Nixon administration and his

participation in a ‘dirty tricks’ campaign aimed at Democratic candidates and with racial

overtones, a truly fair and impartial jury could not have been drawn from the District’s heavily

black, and overwhelmingly Democratic, population”).

       If “the District of Columbia’s voting record in the past two presidential elections” is not

“at all pertinent to venue” in a case involving high-ranking members of a presidential

administration, Haldeman, 559 F.2d at 64 n.43, it cannot justify a change of venue here. To be

sure, some potential jurors might be unable to be impartial in January 6 cases based on

disagreement with the defendants’ political aims. But whether individual prospective jurors have

such disqualifying biases can be assessed during voir dire. This Court should not presume that

every member of a particular political party is biased simply because this case has a political

connection. Indeed, the Supreme Court has stated in the context of an election-fraud trial, that

“[t]he law assumes that every citizen is equally interested in the enforcement of the statute enacted

to guard the integrity of national elections, and that his political opinions or affiliations will not

stand in the way of an honest discharge of his duty as a juror in cases arising under that statute.”




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Connors v. United States, 158 U.S. 408, 414 (1895). The same is true here. The District’s voting

record does not establish that this Court will be unable to select “an unbiased jury capable of basing

its verdict solely on the evidence introduced at trial.” Haldeman, 559 F.2d at 70.

       To the contrary, as the nation’s capital and seat of the federal government, the District has

been home to its fair share of trials in politically charged cases. High-profile individuals strongly

associated with a particular party, such as Marion Barry, John Poindexter, Oliver North, Scooter

Libby, Roger Stone, and Steve Bannon have all been tried in the District. See United States v.

Barry, 938 F.2d 1327 (D.C. Cir. 1991); United States v. Poindexter, 951 F.2d 369 (D.C. Cir. 1991);

United States v. North, 910 F.2d 843 (D.C. Cir. 1990) (per curiam); United States v. Libby, 498 F.

Supp. 2d 1 (D.D.C. 2007); United States v. Stone, No. 19-cr-0018 (ABJ), 2020 WL 1892360

(D.D.C. Apr. 16, 2020); United States v. Bannon, No. 210-cr-670 (CJN). Indeed, the Court in

Stone rejected the argument that jurors “could not possibly view [Roger Stone] independently from

the President” because of his role in the presidential campaign or that “if you do not like Donald

Trump, you must not like Roger Stone.” 2020 WL 1892360, at *30-31. Similarly here, the fact

that most District residents voted against Donald Trump does not mean those residents could not

impartially consider the evidence against those charged in connection with the events on January

6.

       B.      The impact of January 6 on Washington D.C. does not support a change of
               venue.

       The defendants contend that a D.C. jury could not be impartial because D.C. residents have

been particularly affected by events surrounding January 6, including the deployment of the

National Guard, the mayor’s declaration of a state of emergency, road closures, and a curfew. ECF

No. 175 at 5. But January 6 is now more than two years in the past. Many D.C. residents do not

live or work near the Capitol where the roads were closed, and the National Guard was deployed.



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There is no reason to believe that the District’s entire population of nearly 700,000 people was so

affected by these events that the Court cannot seat an impartial jury here.

       Indeed, courts routinely conclude that defendants can receive a fair trial in the location

where they committed their crimes, despite the fact that some members of the community were

victimized. See In re Tsarnaev, 780 F.3d 14, 15 (1st Cir. 2015) (Boston Marathon bombing);

Skilling, 561 U.S. at 399 (Enron collapse); United States v. Yousef, 327 F.3d 56, 155 (2d Cir. 2003)

(1993 World Trade Center bombing); United States v. Moussaoui, 43 F. App’x 612, 613 (4th Cir.

2002) (per curiam) (unpublished) (September 11, 2001, attacks, including on the Pentagon). In

Skilling, the Supreme Court rejected the contention that Enron’s “sheer number of victims” in the

Houston area “trigger[ed] a presumption of prejudice.” Skilling, 561 U.S. at 384 (quotation

omitted). “Although the widespread community impact necessitated careful identification and

inspection of prospective jurors’ connections to Enron,” the voir dire was “well suited to that task.”

Id. In this case too, voir dire can adequately identify those D.C. residents who were so affected by

January 6 that they cannot impartially serve as jurors. There is no reason to presume prejudice.

       C.      The number of federal employees who reside in the District of Columbia does
               not support a change of venue.

       The defendant argues that the Court should presume prejudice in this District because the

jury pool would contain a high percentage of federal government employees or their friends and

family members. ECF No. 175 at 3. But the defendant does not explain how merely being

employed by the federal government would render a person incapable of serving as an impartial

juror. Although some federal employees, such as the U.S. Capitol Police, were affected by the

events of January 6, many others were neither directly nor indirectly impacted. Indeed, many

federal employees were nowhere near the Capitol on January 6 given the maximum telework

posture of many federal agencies at the time. And the storming of the Capitol on January 6 was



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not aimed at the federal government in general, but specifically at Congress’ certification of the

electoral vote. There is therefore no reason to believe that federal employees with little or no

connection to the events at the Capitol could not be impartial in this case. See United States v.

Bochene, No. CR 21-418 (RDM), 2022 WL 123893, at *2 (D.D.C. Jan. 12, 2022) (January 6

defendant’s claim that federal employees would “have a vested interest in supporting their

employer” was “exactly the kind of conjecture that is insufficient to warrant transfer prior to jury

selection”).

       Even assuming (incorrectly) that every federal employee is affected by improper bias, the

Court could draw a jury from those District residents who are not employed by the federal

government. According to the Office of Personnel Management, around 141,000 non-Postal

Service employees worked in Washington, D.C., in 2017. OPM, Federal Civilian Employment,

available at https://www.opm.gov/policy-data-oversight/data-analysis-documentation/federal-

employment-reports/reports-publications/federal-civilian-employment/.           But many federal

employees who work in the District live outside the District and would not be part of the jury pool.

And the District has nearly 700,000 residents. Thus, even if every federal employee were

disqualified, the Court would be able to pick a jury in this District.

II.    The Pretrial Publicity Related to January 6 Does Not Support a Presumption of
       Prejudice in This District.

       The defendants contend that a change of venue is warranted based on pretrial publicity.

ECF No. 175 at 8-17. “The mere existence of intense pretrial publicity is not enough to make a

trial unfair, nor is the fact that potential jurors have been exposed to this publicity.” United States

v. Childress, 58 F.3d 693, 706 (D.C. Cir. 1995); see Murphy v. Florida, 421 U.S. 794, 799 (1975)

(juror exposure to “news accounts of the crime with which [a defendant] is charged” does not

“alone presumptively deprive[] the defendant of due process”). Indeed, “every case of public



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interest is almost, as a matter of necessity, brought to the attention of all the intelligent people in

the vicinity, and scarcely any one can be found among those best fitted for jurors who has not read

or heard of it, and who has not some impression or some opinion in respect to its merits.” Reynolds

v. United States, 98 U.S. 145, 155-56 (1878). Thus, the “mere existence of any preconceived

notion as to the guilt or innocence of an accused, without more,” is insufficient to establish

prejudice. Irvin, 366 U.S. at 723. “It is sufficient if the juror can lay aside his impression or

opinion and render a verdict based on the evidence presented in court.” Id.

       The Supreme Court has recognized only a narrow category of cases in which prejudice is

presumed to exist without regard to prospective jurors’ answers during voir dire. See Rideau v.

Louisiana, 373 U.S. 723 (1963). In Rideau, the defendant’s confession—obtained while he was

in jail and without an attorney present—was broadcast three times shortly before trial on a local

television station to audiences ranging from 24,000 to 53,000 individuals in a parish of

approximately 150,000 people. Id. at 724 (majority opinion), 728-29 (Clark, J., dissenting). The

Court concluded that, “to the tens of thousands of people who saw and heard it,” the televised

confession “in a very real sense was Rideau’s trial—at which he pleaded guilty to murder.”

Rideau, 373 U.S. at 726. Thus, the Court “d[id] not hesitate to hold, without pausing to examine

a particularized transcript of the voir dire,” that these “kangaroo court proceedings” violated due

process. Id. at 726-27.

       Since Rideau, the Supreme Court has emphasized that a “presumption of prejudice . . .

attends only the extreme case,” Skilling, 561 U.S. at 381, and the Court has repeatedly “held in

other cases that trials have been fair in spite of widespread publicity,” Nebraska Press Ass’n v.

Stuart, 427 U.S. 539, 554 (1976). In the half century since Rideau, the Supreme Court has never

presumed prejudice based on pretrial publicity. But see Estes v. Texas, 381 U.S. 532 (1965)




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(presuming prejudice based on media interference with courtroom proceedings); Sheppard v.

Maxwell, 384 U.S. 333 (1966) (same). In fact, courts have declined to transfer venue in some of

the most high-profile prosecutions in recent American history. See In re Tsarnaev, 780 F.3d 14,

15 (1st Cir. 2015) (per curiam) (capital prosecution of Boston Marathon bomber); Skilling, 561

U.S. at 399 (fraud trial of CEO of Enron Corporation); United States v. Yousef, 327 F.3d 56, 155

(2d Cir. 2003) (trial of participant in 1993 World Trade Center bombing); United States v.

Moussaoui, 43 F. App’x 612, 613 (4th Cir. 2002) (per curiam) (unpublished) (terrorism

prosecution for conspirator in September 11, 2001 attacks); Haldeman, 559 F.2d at 70 (Watergate

prosecution of former Attorney General John Mitchell and other Nixon aides).

       In Skilling, the Supreme Court considered several factors in determining that prejudice

should not be presumed where former Enron executive Jeffrey Skilling was tried in Houston,

where Enron was based. Skilling, 561 U.S. at 382-83. First, the Court considered the “size and

characteristics of the community.” Id. at 382. Unlike Rideau, where the murder “was committed

in a parish of only 150,000 residents,” Houston was home to more than 4.5 million people eligible

for jury service. Id. at 382. Second, “although news stories about Skilling were not kind, they

contained no confession or other blatantly prejudicial information of the type readers or viewers

could not reasonably be expected to shut from sight.” Id. Third, “over four years elapsed between

Enron’s bankruptcy and Skilling’s trial,” and “the decibel level of media attention diminished

somewhat in the years following Enron’s collapse.” Id. at 383. “Finally, and of prime significance,

Skilling’s jury acquitted him of nine insider-trading counts,” which undermined any “supposition

of juror bias.” Id.

       Although these Skilling factors are not exhaustive, courts have found them useful when

considering claims of presumptive prejudice based on pretrial publicity. See, e.g., In re Tsarnaev,




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780 F.3d at 21-22; United States v. Petters, 663 F.3d 375, 385 (8th Cir. 2011). And contrary to

the defendant’s contention, those factors do not support a presumption of prejudice in this case.

       A.      Size and characteristics of the community

       The defendant suggests (ECF No. 175 at 2) that an impartial jury cannot be found in

Washington, D.C., despite the District’s population of nearly 700,000. Although this District may

be smaller than most other federal judicial districts, it has a larger population than two states

(Wyoming and Vermont), and more than four times as many people as the parish in Rideau. The

relevant question is not whether the District of Columbia is as populous as the Southern District

of Texas in Skilling, but whether it is large enough that an impartial jury can be found. In Mu’Min

v. Virginia, 500 U.S. 415, 429 (1991), the Court cited a county population of 182,537 as supporting

the view than an impartial jury could be selected. And Skilling approvingly cited a state case in

which there was “a reduced likelihood of prejudice” because the “venire was drawn from a pool

of over 600,000 individuals.” Skilling, 561 U.S. at 382 (quoting Gentile v. State Bar of Nev., 501

U.S. 1030, 1044 (1991)). There is simply no reason to believe that, out of an eligible jury pool of

nearly half a million, “12 impartial individuals could not be empaneled.” Id.

       B.      Nature of the pretrial publicity

       Nor does this case involve a “confession or other blatantly prejudicial information of the

type readers or viewers could not reasonably be expected to shut from sight.” Skilling, 561 U.S.

at 382. Even news stories that are “not kind,” Skilling, 561 U.S. at 382, or are “hostile in tone and

accusatory in content,” Haldeman, 559 F.2d at 61, do not alone raise a presumption of prejudice.

As in Skilling and Haldeman, the news coverage of Defendants is “neither as inherently prejudicial

nor as unforgettable as the spectacle of Rideau’s dramatically staged and broadcast confession.”

Id. Indeed, although any media characterizations of the Defendants would be inadmissible, the




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photos and videos of the Defendants that have been disseminated would be both admissible and

highly relevant at trial. Compare Sheppard, 384 U.S. at 360 (noting that information reported by

the media was “clearly inadmissible” and that “[t]he exclusion of such evidence in court is

rendered meaningless when news media make it available to the public”), with Murray v. Schriro,

882 F.3d 778, 805 (9th Cir. 2018) (“There was no inflammatory barrage of information that would

be inadmissible at trial. Rather, the news reports focused on relaying mainly evidence presented

at trial.”); Henderson v. Dugger, 925 F.2d 1309, 1314 (11th Cir. 1991) (“[B]ecause we have found

[the defendant’s] confessions were admissible, the damage if any from the [pretrial] publicity is

negligible.”).

       The defendants argue that prejudice should be presumed based on statements by political

leaders and other public figures. ECF No. 175 at 11-13. But harsh condemnation of a defendant’s

actions is not uncommon in high-profile criminal cases, and it does not suffice to establish

prejudice. In Skilling, the news stories about the defendant’s involvement in Enron’s collapse

“were not kind,” but they “contained no confession or other blatantly prejudicial information of

the type readers or viewers could not reasonably be expected to shut from sight.” Skilling, 561

U.S. at 382. And in Haldeman, although some of the coverage of the Watergate scandal was

“hostile in tone and accusatory in content,” the bulk of the coverage “consist[ed] of

straightforward, unemotional factual accounts of events and of the progress of official and

unofficial investigations.” Haldeman, 559 F.2d at 61. The D.C. Circuit concluded that the

coverage “was neither as inherently prejudicial nor as unforgettable as the spectacle of Rideau’s

dramatically staged and broadcast confession.” Id. The same is true here, where news coverage

has not reported on any confession or other blatantly prejudicial information about the defendants.

And, again, statements by public figures are ordinarily reported across the entire country, and




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exposure to these statements is hardly unique to Washington, D.C.]

       The defendant also contends that the nationally televised hearings of the U.S. House of

Representatives Select Committee to Investigate the January 6th Attack on the United States

Capitol (Select Committee) support a change of venue. ECF No. 175 at 18. But this exposure was

not limited to D.C. Instead, the hearings were carried on national networks across the country. In

similar circumstances, the D.C. Circuit affirmed the denial of a change of venue where the

defendants—who were high-ranking members of the Nixon administration—complained that they

were prejudiced by news coverage of the Watergate-related hearings. Haldeman, 559 F.2d at 62-

64 & nn.35, 43. The court of appeals observed that “a change of venue would have been of only

doubtful value” where the “network news programs and legislative hearings” related to Watergate

were “national in their reach.” Id. at n.43.

       The defendant has not pointed to any evidence that D.C. residents were more likely to have

watched that hearing than citizens in other parts of the country. And even if D.C. residents tuned

in at a higher rate, it is still likely that a majority of D.C. residents did not watch the hearings.

Moreover, those hearings have focused on the events of January 6 as a whole, not on the actions

of the defendant. There is no reason to believe that coverage of the hearings will create in D.C.

such a degree of bias against this particular defendant that an impartial jury cannot be selected.

       Additionally, a careful voir dire—rather than a change of venue—is the appropriate way

to address potential prejudice from the Select Committee hearings. “[V]oir dire has long been

recognized as an effective method of routing out [publicity-based] bias, especially when conducted

in a careful and thoroughgoing manner.” In re Nat’l Broadcasting Co., 653 F.2d 609, 617 (D.C.

Cir. 1981). After a careful voir dire, this Court can select a jury from those residents who either

did not watch the hearings or who, despite having watched the hearing, give adequate assurances




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of their impartiality. See Haldeman, 559 F.3d at 62 n.35 (rejecting claim of prejudice even though

“several jurors” had “seen portions of the televised Senate hearings” related to Watergate).

       The defendant asserts that a fair trial cannot be had in D.C. because of the volume of news

coverage of January 6. ECF No. 175 at 23. But even “massive” news coverage of a crime does

not require prejudice to be presumed. Haldeman, 559 F.2d at 61. And a comparatively small

percentage of the news coverage of January 6 has focused on the Defendants. Unlike most cases

involving pretrial publicity, where the news coverage focuses on the responsibility of a single

defendant (as in Rideau or Tsarnaev) or small number of co-defendants (as in Skilling and

Haldeman), the events of January 6 involved thousands of participants and have so far resulted in

charges against more than 900 people. The Court can guard against any spillover prejudice from

the broader coverage of January 6 by conducting a careful voir dire and properly instructing the

jury about the need to determine a defendant’s individual guilt.

       And, in any event, any threat of such spillover prejudice is not limited to Washington, D.C.

because much of the news coverage of January 6 has been national in scope. See Haldeman, 559

F.2d at 64 n.43 (observing that “a change of venue would have been of only doubtful value” where

much of the news coverage was “national in [its] reach” and the crime was of national interest);

United States v. Bochene, No. 21-cr-418-RDM, 2022 WL 123893, at *3 (D.D.C. Jan. 12, 2022)

(“The fact that there has been ongoing media coverage of the breach of the Capitol and subsequent

prosecutions, both locally and nationally, means that the influence of that coverage would be

present wherever the trial is held.” (internal quotation marks omitted)). As the Select Litigation

poll demonstrates, the number of potential jurors exposed to “[a] lot” of news coverage of January

6 differs only slightly between Washington, D.C. (33%) and Atlanta (30%). ECF No.175 at 14

(Question 8). Thus, the nature and extent of the pretrial publicity do not support a presumption of




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prejudice.

       C.      Passage of time before trial

       In Skilling, the Court considered the fact that “over four years elapsed between Enron’s

bankruptcy and Skilling’s trial.” Skilling, 561 U.S. at 383. In this case, 26 months have already

elapsed since the events of January 6, and more time will elapse before trial. This is far more than

in Rideau, where the defendant’s trial came two months after his televised confession. Rideau,

373 U.S. at 724. Although January 6 continues to be in the news, the “decibel level of media

attention [has] diminished somewhat,” Skilling, 561 U.S. at 383. Moreover, only a relatively small

percentage of the recent stories have mentioned the defendants and much of the reporting has been

national is scope, rather than limited to Washington, D.C.

       D.      The jury verdict

       Because the defendant’s have not yet gone to trial, the final Skilling factor—whether the

“jury’s verdict . . . undermine[s] in any way the supposition of juror bias,” Skilling, 561 U.S. at

383—does not directly apply. But the fact that Skilling considered this factor to be “of prime

significance,” id., underscores how unusual it is to presume prejudice before trial. Ordinarily, a

case should proceed to trial in the district where the crime was committed, and courts can examine

after trial whether the record supports a finding of actual or presumed prejudice. In short, none of

the Skilling factors supports the defendant’s contention that the Court should presume prejudice

and order a transfer of venue without even conducting voir dire.

       The defendant suggests that this factor actually supports his claim of prejudice because the

other jury trials involving January 6 defendants have resulted in prompt and (until recently)

unanimous guilty verdicts. ECF No.175 at 18. But although the Skilling indicated that a split

verdict could “undermine” a presumption of prejudice, it never suggested that a unanimous




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verdict—particularly a unanimous verdict in a separate case involving a different defendant—was

enough to establish prejudice. The prompt and unanimous guilty verdicts in other January 6 jury

trials resulted from the strength of the government’s evidence. Moreover, juries in two recent

January 6 trials have either been unable to reach a verdict on certain counts, see United States v.

Williams, No. 21-cr-618 (D.D.C.), or have acquitted on some counts, see United States v. Rhodes,

et al., No. 22-cr-15, ECF No. 410 (D.D.C. Nov. 29, 2022). This indicates that D.C. jurors are

carefully weighing the evidence and not reflexively convicting January 6 defendants on all

charges. And, as explained below, the jury selection in those cases actually indicates that impartial

juries can be selected in this district.

III.    The Select Litigation Media Analysis Does Not Support a Change of Venue.

        The defendant also incorrectly contends that the media analysis conducted by Select

Litigation supports a change of venue. ECF No. 175 at 21. The defendant points out that the

analysis shows that, in nine of the 13 months analyzed, the Washington Post ran more news stories

about January 6 than did the Atlanta Journal-Constitution. See Exhibit 1 attached to ECF No.175

at 29. Again, as with the Selection Litigation poll, this analysis does not focus on the defendants’

preferred venue, the Middle District of Tennessee and Northern District of Georgia, and therefore

provides little insight into the media exposure of prospective jurors in that district.

        Moreover, for several reasons, these numbers do not demonstrate that media exposure was

significantly different in Atlanta than in Washington, D.C. First, the comparison fails to account

for the comparative sizes and circulations of the two newspapers. It should not be surprising that

a large national newspaper would print more articles on the same topic than a regional newspaper.

Second, the analysis does not account for the fact that many Americans receive their news from

national sources such as CNN or Fox News, often filtered through social media. Thus, prospective




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jurors in both Washington, D.C. and Atlanta are not limited to their local newspapers and television

broadcast stations and may well have been exposed to much of the same media coverage. Third,

simply counting the number of news articles in a given source is not a good way to measure

prospective jurors’ media exposure. Indeed, the Select Litigation poll shows comparatively small

variations in media exposure between Washington, D.C. and Atlanta. According to that poll, 99%

of D.C. respondents were aware of the January 6 demonstrations, compared to 93% in Atlanta, and

33% of D.C. respondents had seen “A lot” of coverage, compared to 30% in Atlanta. ECF No.

175at 33-34. Like the Watergate scandal at issue in Haldeman, the storming of the Capitol on

January 6, 2021, was “not a local crime of peculiar interest to the residents of the District of

Columbia” but one that generated national interest. Haldeman, 559 F.2d at 64 n.43.

       The Select Litigation analysis also concludes that “the number of hits from internet sites

based in the District of Columbia area was four times higher than the comparable number of hits

from sites based in the Atlanta area.” ECF No. 175 at 29. But the analysis includes no information

about where these hits came from. Many of the hits on D.C.-based news sources likely came from

readers outside the District itself, such as readers in the Northern Virginia and Maryland suburbs

or readers from other parts of the country who were directed to D.C.-based news reporting on

social media. A reader in California, for example, would be far more likely to read about January

6 on the Washington Post than on the Atlanta Journal-Constitution.             Without additional

information, this analysis of Internet hits is essentially meaningless.

       The Select Litigation analysis is also unhelpful because it considered only the coverage of

January 6 in general, as opposed to the coverage of Munchel or Eisenhart. The Defendants one of

more than 900 defendants charged in connection with January 6, and only a fraction of the media

coverage has focused on them. Indeed, the coverage of the defendant’s is less significant than in




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Skilling, where the Houston Chronicle “mentioned Enron in more than 4,000 articles during the 3-

year period following the company’s December 2001 bankruptcy” with “[h]undreds of these

articles discussing Skilling by name.” Skilling, 561 U.S. at 428 (Sotomayor, J., concurring in part

and dissenting in part).

       Finally, the media analysis fails to support a presumption of prejudice because mere

exposure to pretrial publicity does not disqualify a potential juror.      “Prominence does not

necessarily produce prejudice, and juror impartiality . . . does not require ignorance.” Skilling,

561 U.S. at 381. The Supreme Court has found no presumption of prejudice even when 98% of

prospective jurors had heard of the case and 77% indicated on voir dire that “they would carry an

opinion into the jury box.” Patton v. Yount, 467 U.S. 1025, 1029 (1984).       The mere fact that

Washington, D.C. news outlets have run more stories about January 6 (and received more hits)

than have Atlanta outlets does not suggest that an impartial jury cannot be selected in Washington

D.C.

IV.    The Publicity and Reduction of the Jury Pool Caused by Other January 6 Trials in
       this District Do Not Support a Change of Venue.

       The defendants argue that they are likely to be prejudiced by the publicity generated by

other recent trials involving charges based on the events of January 6. ECF No. 175 at 18. Although

the trials in those cases have generated media coverage, that coverage was not confined to the

District of Columbia and was focused on the defendants in those cases, without mentioning the

defendants here. The defendant cannot show that jurors in this District, carefully selected after a

thorough voir dire and properly instructed in the law, would be more likely to convict them simply

because they were exposed to media coverage of other January 6 trials. Nor can the defendant

show that any such asserted prejudice would be meaningfully different in another jurisdiction,

given the national coverage of these trials. Additionally, by the time the defendant has gone to



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trial, even more time will have passed since the siege at the Capitol on January 6, 2021, and since

these initial January 6 trials. And as more January 6 defendants go to trial, the level of media

attention given to each particular trial is likely to diminish.

        The defendantS also argues that, as additional January 6 trials take place, the pool of

potential jurors will shrink, making it more difficult to obtain an impartial jury. ECF No. 175 at

19. But each trial will barely touch the potential jury pool. Assuming (1) a jury pool of 500,000

out of nearly 700,000 residents, (2) approximately 80 people being summoned per trial, and (3)

that no one even summoned for jury service in a January 6 case could be summoned again, over

60 trials will have to occur before one percent of the jury pool has been called. Accordingly, by

the time the defendant’s case proceeds to trial, there will still be hundreds of thousands of potential

jurors, who have never been summoned to a January 6 trial, available for voir dire.

V.      The Poll Submitted by the Defendant Does Not Support a Change of Venue.

        The defendant relies on a poll conducted by Select Litigation, a private litigation consulting

firm, at the request of the Federal Public Defender for the District of Columbia. See Exhibit 1

attached to ECF No. 175 at 21-45. This poll does not support a change of venue. Select Litigation

conducted a telephone poll of potential jurors in the District of Columbia and in the Atlanta

Division of the Northern District of Georgia and contracted with a media research firm to analyze

news media coverage of January 6 in both of those jurisdictions. That poll does not support the

defendant’s request for a venue transfer.

        A.      Courts have repeatedly declined to find a presumption of prejudice based on
                pretrial polling without conducting voir dire.

        The defendant argues that this Court should find a presumption of prejudice based on a poll

of prospective jurors. But “courts have commonly rejected such polls as unpersuasive in favor of

effective voir dire as a preferable way to ferret out any bias.” United States v. Causey, 2005 WL



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8160703, at *7 (S.D. Tex. 2005). As one circuit has observed, the Supreme Court’s emphasis on

the important role of voir dire in addressing pretrial publicity “undercuts” the “argument that poll

percentages . . . decide the question of a presumption of prejudice.” In re Tsarnaev, 780 F.3d 14,

23 (1st Cir. 2015) (per curiam); see Mu’Min v. Virginia, 500 U.S. 415, 427 (1991) (observing that,

“[p]articularly with respect to pretrial publicity, . . . primary reliance on the judgment of the trial

court makes good sense”).

       Indeed, the D.C. Circuit has rejected a claim of presumed prejudice based on the results of

a pre-voir dire survey.     Haldeman, 559 F.2d at 64.          In Haldeman, seven former Nixon

administration officials (including the former Attorney General of the United States) were

prosecuted for their role in the Watergate scandal. Id. at 51. According to a poll commissioned

by the defense in that case, 93% of the Washington, D.C. population knew of the charges against

the defendants and 61% had formed the opinion that they were guilty. Id. at 144, 178 n.2

(MacKinnon, J., concurring in part and dissenting in part). Recognizing that the case had produced

a “massive” amount of pretrial publicity, id. at 61, the D.C. Circuit nevertheless held that the

district court “was correct” to deny the defendants’ “pre-voir dire requests for . . . a change of

venue,” id. at 63-64. The court observed that the district court “did not err in relying less heavily

on a poll taken in private by private pollsters and paid for by one side than on a recorded,

comprehensive voir dire examination conducted by the judge in the presence of all parties and

their counsel.” Id. at 64 n.43; see Jones, 404 F.2d at 1238 (observing that it is “upon the voir dire

examination,” and “usually only then, that a fully adequate appraisal of the claim [of local

community prejudice] can be made” (quotation omitted)).

       Other circuits have similarly rejected attempts to elevate polling results over voir dire. In

United States v. Campa, a pre-trial survey found that 69% of respondents were prejudiced against




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anyone charged with spying on behalf of Cuba, as the defendants were. Campa, 459 F.3d at 1157

(Birch, J., dissenting). The en banc Eleventh Circuit affirmed the denial of a motion for change of

venue, explaining that “[w]hen a defendant alleges that prejudicial pretrial publicity would prevent

him from receiving a fair trial, it is within the district court’s broad discretion to proceed to voir

dire to ascertain whether the prospective jurors have, in fact, been influenced by pretrial publicity.”

Id. at 1146 (majority opinion).

       Similarly, in United States v. Rodriguez, 581 F.3d 775 (8th Cir. 2009), a poll indicated that

99 percent of respondents had heard about the brutal rape and murder with which the defendant

was charged, nearly 88 percent of those respondents believed he was guilty, and about 42 percent

of respondents had a strongly held opinion of his guilt. Id. at 786; Brief for the Appellant, United

States v. Rodriguez, No. 07-1316 (8th Cir.), 2008 WL 194877, at *19. Nonetheless, the Eighth

Circuit found no presumption of prejudice, observing that a district court was not required “to

consider public opinion polls when ruling on change-of-venue motions.” Rodriguez, 581 F.3d at

786. And the court held that, in any event, the poll did not “demonstrate widespread community

prejudice” because the “media coverage had not been inflammatory,” two years had passed since

the murder, and “the district court concluded that special voir dire protocols would screen out

prejudiced jurors.” Id.

       There are good reasons to rely on voir dire, rather that public-opinion polls, when assessing

whether prejudice should be presumed. First, polling lacks many of the safeguards of court-

supervised voir dire, including the involvement of both parties in formulating the questions.

Surveys that are not carefully worded and properly conducted can produce misleading results, such

as by asking leading questions or providing the respondents with facts that will influence their

responses. See Campa, 459 F.3d at 1146 (noting problems with “non-neutral” and “ambiguous”




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questions). Second, polling lacks the formality that attends in-court proceedings under oath, and

it does not afford the court the “face-to-face opportunity to gauge demeanor and credibility.”

Skilling, 561 U.S. at 395. Third, polls ordinarily inform the court only the extent to which

prospective jurors have heard about a case and formed an opinion about it. But that is not the

ultimate question when picking a jury. A prospective juror is not disqualified simply because he

has “formed some impression or opinion as to the merits of the case.” Irvin v. Dowd, 366 U.S.

717, 722 (1961). Instead, “[i]t is sufficient if the juror can lay aside his impression or opinion and

render a verdict based on the evidence presented in court.” Id. at 723. But pre-trial surveys are

poorly suited to answering that ultimate question, which is best asked in the context of face-to-

face voir dire under oath. See Rosales-Lopez v. United States, 451 U.S. 182, 188 (1981) (observing

that the trial judge’s function in voir dire “is not unlike that of the jurors later in the trial” because

“[b]oth must reach conclusions as to impartiality and credibility by relying on their own

evaluations of demeanor evidence and of responses to questions”).

        In sum, federal courts have shown an overwhelming preference for assessing prejudice

through court-supervised voir dire rather than through public opinion polls. And the defendant

has not offered any reason to depart from that usual practice here. Thus, this Court need not give

substantial weight to the polling when considering whether to presume prejudice.                 But, as

explained below, the poll submitted by the defendant does not support a presumption of prejudice

in any event.

        B.      The Select Litigation poll does not demonstrate pervasive prejudice in the
                District of Columbia.

        Contrary to the defendant’s contention, the Select Litigation poll does not support a

presumption of prejudice in this District. As an initial matter, the Select Litigation poll selected

only one comparator jurisdiction—the Atlanta Division of the Northern District of Georgia. The



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Select Litigation survey tells the Court nothing about the views or media exposure of prospective

jurors in the Middle District of Tennessee. The poll therefore cannot show that selecting an

impartial jury would be any more difficult in the District of Columbia than in the defendant’s

preferred district. See United States v. Haldeman, 559 F.2d 31, 64 n.43 (D.C. Cir. 1976) (en banc)

(per curiam) (observing that a change of venue “would have been only of doubtful value” where

the pretrial publicity was national in scope).

       Furthermore, to the extent the poll is useful at a more general level in comparing the District

of Columbia to other districts, the poll indicates that levels of media exposure to the events of

January 6 are not significantly different in Atlanta than in Washington, D.C. The number of

respondents who had seen “[a] lot” of coverage in each jurisdiction differed only by three

percentage points (33% in D.C. versus 30% in Atlanta), which is within the margin of error. ECF

No. 175 34. The number of respondents who had seen “[s]ome” coverage was exactly the same

(25% in both jurisdictions), and the number who had seen “[q]uite a bit” of coverage was not

significantly different (28% in D.C. versus 20% in Atlanta).          Id.   The total percentage of

respondents who were exposed to “[a] lot,” “[q]uite a bit,” or “[s]ome” news coverage was 86%

in Washington, D.C. and 75% in Atlanta. Id. This relatively small difference does not suggest

that news coverage has made it impossible to pick an impartial jury in Washington, D.C.

       The defendant points out that 71% of respondents in D.C. said they had formed the opinion

January 6 arrestees were “guilty” of the charges brought against them. See ECF No. 175 at 23.

The survey failed, however, to identify (much less define) any of the charges brought against the

defendant. It also failed to provide respondents with the option of saying they were “unsure” about

guilt, even though such an option is required by professional standards that apply in this area. See

American Society of Trial Consultants, Professional Standards for Venue Surveys at 9, available




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at https://www.astcweb.org/Resources/Pictures/Venue%2010-08.pdf (“Respondents must be

made aware that they can say they do not know or have no opinion.”). The survey instead gave

respondents a binary choice between “guilty or not guilty.” ECF No. 175 at 23. Yet even without

being provided the appropriate options, 26% of D.C. respondents voluntarily gave an answer of

“Depends” or “Don’t know/Refused.” Id. This shows that, even in response to a poorly worded

question, more than a quarter of the District’s residents realized the need to keep an open mind

about guilt.

       Understood in context, the Select Litigation poll does not indicate any higher degree of

juror bias than in Haldeman, where the en banc D.C. Circuit found no presumption of prejudice.

In Haldeman, 61% of respondents expressed a view that the defendants were guilty, as opposed to

the 71% here. See Haldeman, 559 F.2d at 144, 178 n.2 (MacKinnon, J., concurring in part and

dissenting in part). But the survey in Haldeman first asked respondents whether they had formed

an opinion about whether the indicted Nixon aides were guilty or innocent, giving options for both

“No” (i.e. had not formed an opinion) and “Don’t Know/No Opinion.” Id. at 178 n.2. The survey

then asked whether respondents thought the defendants were “guilty or innocent in the Watergate

affair,” giving options for “Not Guilty Until Proven” and “No Opinion/Don’t Know.” Id. Only

after (a) being prompted to consider whether they could actually form an opinion, and (b) being

reminded of the presumption of innocence, did 61% of respondents say “guilty.” Id. Here, by

contrast, respondents were not provided a “don’t know” option, were not reminded of the

presumption of innocence, and were asked only whether they thought the “several hundred people”

arrested in connection with January 6 were “guilty.” ECF No. 175 at 34 (Questions 3, 4).

       When asked about guilt in the context of a criminal trial, however, respondents in the Select

Litigation survey were far less likely to give an answer of “guilty.” Question 5 asked them to




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“[a]ssume [they] were on a jury for a defendant charged with crimes for his or her activities on

January 6” and then asked whether they were “more likely to vote that the person is guilty or not

guilty.” ECF No.175 at 34. In response to this question, only 52% of D.C. respondents said

“Guilty,” and fully 46% volunteered a response of “Depends” or “Don’t know/Refused.” Id. Thus,

when asked to consider guilt or innocence in the context of a “defendant charged with crimes,” as

opposed to the “several hundred people . . . arrested,” nearly half of D.C. residents were committed

to keeping an open mind—even without being instructed on the presumption of innocence or being

provided an option for “Do not know.” This indicates, if anything, a lower degree of prejudice

than was present in Haldeman.

       The defendant points out that, according to the Select Litigation poll, 84% of D.C.

respondents had an “unfavorable” view of “people arrested for participating in the events at the

U.S. Capitol on January 6.” ECF No. 175 at 34. Although that is higher than the 54% of Atlantans

with unfavorable views, it is quite similar to the results of a nationwide CBS poll, which found

that 83% of respondents “[s]omewhat disapprove” or “[s]trongly disapprove” of the “actions taken

by the people who forced their way into the U.S. Capitol on January 6.” See CBS News Poll,

December         27-30,        2021,        Question         2,     https://drive.google.com/file/d/

1QNzK7xBJeWzKlTrHVobLgyFtId9Cgsq_/view. And, in any event, the fact that many D.C.

residents have a generally “unfavorable” view of people “arrested” on January 6 does not mean

that an impartial jury cannot be selected in this jurisdiction.

       The defendant also points out that 62% of D.C. respondents (compared to 48% of Atlanta

respondents) would describe “most of the people who were arrested for their involvement in the

events on January 6th” as “criminals.” ECF No. 175 at 34 (Question 10). The answers to this

question likely reflect the commonly held view that most people arrested for crimes are in fact




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guilty of those crimes. But the fact that 62% of D.C. respondents expressed this off-the-cuff view

about “most” of the 900-plus January 6th arrestees does not demonstrate that all of those

respondents would be unable to impartially find the facts in a specific case after being properly

instructed by the Court. Moreover, the question demonstrates that fully 28% of D.C. respondents

would not describe those arrestees as criminals, and 9% were unsure or refused to answer. ECF

No. 174 at 34. And the 14% difference between D.C. and Atlanta—which could easily be

explained by demographic differences such as age and education levels (see ECF No. 175 at 35)—

would not justify the conclusion that this is an “extreme case” in which a change of venue is

required. Skilling, 561 U.S. at 381.

       Nor should prejudice be presumed because a substantial numbers of respondents “would”

describe “the people who forced their way into the U.S. Capitol” as “[t]rying to overturn the

election and keep Donald Trump in power” (85%), engaging in “[i]nsurrection” (76%), or “[t]rying

to overthrow the U.S. government” (72%). ECF No. 175 at 35. For one thing, this question asked

specifically about those who “forced their way into the U.S. Capitol,” which suggests a higher

degree of culpability than simply entering the Capitol. For another, the poll did not provide an

“undecided” option but asked only whether respondents “would” or “would not” use those

descriptions. Id. Nor did the question define the offenses of “insurrection” or advocating the

overthrow of government, see 18 U.S.C. §§ 2383, 2385, offenses with which no defendant has

been charged in connection with January 6. And, most importantly, the poll did not answer the

key question: whether a sufficient number of prospective jurors can “lay aside [their] impression[s]

or opinion[s] and render a verdict based on the evidence presented in court.” Irvin v. Dowd, 366

U.S. 717, 723 (1961); see Patton v. Yount, 467 U.S. 1025, 1029 (1984) (no presumption of

prejudice where nearly 99% of prospective jurors had heard of the case and 77% indicated on voir




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dire that “they would carry an opinion into the jury box”). In short, the Select Litigation poll does

not come close to demonstrating that “12 impartial individuals could not be empaneled” in

Washington, D.C. Skilling, 561 U.S. at 382.

VI.    A Change of Venue Is Not Warranted Under 3237(a) nor under Federal Rule of
       Criminal Procedure 21(b) Based on Convenience or the Interest of Justice.
       Defendants also argue that this Court should transfer because some level of planning and

intent occurred in their home districts. ECF No. 162. 18 U.S.C.A. § 3237 reads: “any offense

against the United States begun in one district and completed in another, or committed in more

than one district, may be inquired of and prosecuted in any district in which such offense was

begun, continued, or completed. Defendants rely on examples such as United States v. Miller,

808 F.3d 607, 615 (2d Cir. 2015), where defendants were actively participating in crimes across

multiple jurisdictions. In Miller, the defendant kidnapped a child in one jurisdiction and crossed

state lines into another jurisdiction. Although any pre-planning is important to culpability, the

Miller court clarified: “Determination of criminal venue is informed by where physical conduct

occurred, and not where criminal intent was formed. Id. at 616. See also Rodriguez–Moreno, 526

U.S. at 279–80, 119 S.Ct. 1239.

VII.   The January 6-Related Jury Trials That Have Already Occurred Have Demonstrated
       the Availability of a Significant Number of Fair, Impartial Jurors in the D.C. Venire.

       At this point, more than a dozen January 6 cases have proceeded to jury trials, and the

Court in each of those cases has been able to select a jury without undue expenditure of time or

effort. See Murphy, 421 U.S. at 802-03 (“The length to which the trial court must go to select

jurors who appear to be impartial is another factor relevant in evaluating those jurors’ assurances

of impartiality.”); Haldeman, 559 F.2d at 63 (observing that “if an impartial jury actually cannot

be selected, that fact should become evident at the voir dire”). Instead, the judges presiding over

nearly all of those trials were able to select a jury in one or two days. See United States v. Reffitt,



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No. 21-cr-32, Minute Entries (Feb. 28 & Mar. 1, 2022); United States v. Robertson, No. 21-cr-34,

Minute Entry (Apr. 5, 2022); United States v. Thompson, No. 21-cr-161, Minute Entry (Apr. 11,

2022); United States v. Webster, No. 21-cr-208, Minute Entry (Apr. 25, 2022); United States v.

Hale-Cusanelli, No. 21-cr-37, Minute Entry (May 23, 2022); United States v. Anthony Williams,

No. 21-cr-377, Minute Entry (June 27, 2022); United States v. Bledsoe, No. 21-cr-204, Minute

Entry (July 18, 2022); United States v. Herrera, No. 21-cr-619, Minute Entry (D.D.C. August 15,

2022); United States v. Jensen, No. 21-cr-6, Minute Entries (Sep. 19 & 20, 2022); United States v.

Strand, No. 21-85, Minute Entry (D.D.C. Sep. 20, 2022); United States v. Alford, No. 21-cr-263,

Minute Entry (Sep. 29, 2022); United States v. Riley Williams, No. 21-cr-618, Minute Entries

(D.D.C. Nov. 7 & 8, 2022); United States v. Schwartz, No. 21-cr-178, Minute Entries (D.D.C.

Nov. 22 & 29, 2022); United States v. Gillespie No. 22-cr-60, Minute Entry (D.D.C. Dec. 19,

2022); United States v. Barnett, 21-cr-38, Minute Entries (D.D.C. Jan. 9 & 10, 2023); United States

v. Sheppard, No. 21-cr-203, Minute Entries (D.D.C. Jan. 20 & 23, 2023); United States v.

Eckerman, No. 21-CR-623, Minute Entry (D.D.C. Jan. 23, 2023). The only exceptions have trials

involving seditious conspiracy charges. See United States v. Rhodes, et al., No. 22-cr-15, Minute

Entries (Sept. 27, 28, 29; Dec. 6, 7, 8, 9, 2022). And, using the first five jury trials as exemplars,

the voir dire that took place undermines the defendant’s claim that prejudice should be presumed.

       In Reffitt, the Court individually examined 56 prospective jurors and qualified 38 of them

(about 68% of those examined). See Reffitt, No. 21-cr-32, ECF No. 136 at 121. The Court asked

all the prospective jurors whether they had “an opinion about Mr. Reffitt’s guilt or innocence in

this case” and whether they had any “strong feelings or opinions” about the events of January 6 or

any political beliefs that it would make it difficult to be a “fair and impartial” juror. Reffitt, No.

21-cr-32, ECF No. 133 at 23, 30. The Court then followed up during individual voir dire. Of the




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18 jurors that were struck for cause, only nine (or 16% of the 56 people examined) indicated that

they had such strong feelings about the events of January 6 that they could not serve as fair or

impartial jurors. 2

        In Thompson, the Court individually examined 34 prospective jurors, and qualified 25 of

them (or 73%). See Thompson, No. 21-cr-161, ECF No. 106 at 170, 172, 181, 190, 193. The court

asked the entire venire 47 standard questions, and then followed up on their affirmative answers

during individual voir dire. Id. at 4-5, 35. Of the nine prospective jurors struck for cause, only

three (or about 9% of those examined) were stricken based on an inability to be impartial, as

opposed to some other cause. 3

        Similarly, in Robertson, the Court individually examined 49 prospective jurors and

qualified 34 of them (or about 69% of those examined). See Robertson, No. 21-cr-34, ECF No.

106 at 73. The Court asked all prospective jurors whether they had “such strong feelings” about

the events of January 6 that it would be “difficult” to follow the court’s instructions “and render a

fair and impartial verdict.” Robertson, No. 21-cr-34, ECF No. 104 at 14. It asked whether

anything about the allegations in that case would prevent prospective jurors from “being neutral



        2
         For those struck based on a professed inability to be impartial, see Reffitt, No. 21-cr-32,
ECF No. 133 at 49-54 (Juror 328), 61-68 (Juror 1541), 112-29 (Juror 1046); ECF No. 134 at 41-
42 (Juror 443), 43-47 (Juror 45), 71-78 (Juror 1747), 93-104 (Juror 432), 132-43 (Juror 514); ECF
No. 135 at 80-91 (Juror 1484). For those struck for other reasons, see Reffitt, No. 21-cr-32, ECF
No. 134 at 35-41 (Juror 313, worked at Library of Congress); ECF No. 134 at 78-93 and ECF No.
135 at 3 (Juror 728, moved out of D.C.); ECF No. 135 at 6-8 (Juror 1650, over 70 and declined to
serve), 62-73 (Juror 548, unavailability), 100-104 (Juror 715, anxiety and views on guns), 120
(Juror 548, medical appointments); ECF No. 136 at 41-43 (Juror 1240, health hardship), 53-65
(Juror 464, worked at Library of Congress), 65-86 (Juror 1054, prior knowledge of facts).
        3
         For the three stricken for bias, see Thompson, No. 21-cr-161, ECF No. 106 at 51-53 (Juror
1242), 85-86 (Juror 328), 158-59 (Juror 999). For the six stricken for hardship or inability to focus,
see Thompson, No. 21-cr-161, ECF No. 106 at 44 (Juror 1513), 45 (Juror 1267), 49-50 (Juror 503),
50-51 (Juror 1290), 86-93 (Juror 229), 109-10 (Juror 1266).



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and fair” and whether their political views would affect their ability to be “fair and impartial.” Id.

at 13, 15. The Court followed up on affirmative answers to those questions during individual voir

dire. Of the 15 prospective jurors struck for cause, only nine (or 18% of the 49 people examined)

indicated that they had such strong feelings about the January 6 events that they could not be fair

or impartial. 4

        In Webster, the Court individually examined 53 jurors and qualified 35 of them (or 66%),

Webster, No. 21-cr-208, ECF No. 115 at 6, though it later excused one of those 35 based on

hardship, Webster, No. 21-cr-208, ECF No. 114 at 217-18. The Court asked all prospective jurors

whether they had “strong feelings” about the events of January 6 or about the former President that

would “make it difficult for [the prospective juror] to serve as a fair and impartial juror in this

case.” Webster, No. 21-cr-208, ECF No. 113 at 19. During individual voir dire, the Court followed

up on affirmative answers to clarify whether prospective jurors could set aside their feelings and

decide the case fairly. See, e.g., id. at 32-33, 41-42, 54-56, 63, 65-66. Only 10 out of 53

prospective jurors (or about 19%) were stricken based on a professed or imputed inability to be

impartial, as opposed to some other reason. 5 The Webster Court observed that this number “was



        4
         For those struck based on a professed inability to be impartial, see Robertson, No. 21-cr-
34, ECF No. 104 at 26-34 (Juror 1431), 97-100 (Juror 1567); ECF No. 105 at 20-29 (Juror 936),
35-41 (Juror 799), 59-70 (Juror 696), 88-92 (Juror 429); ECF No. 106 at 27-36 (Juror 1010), 36-
39 (Juror 585), 58-63 (Juror 1160). For those struck for other reasons, see Robertson, No. 21-cr-
34, ECF No. 104 at 23-26 (Juror 1566, hardship related to care for elderly sisters), 83-84 (Juror
1027, moved out of D.C.); ECF No. 105 at 55-59 (Juror 1122, language concerns), 92-94 (Juror
505, work hardship); ECF No. 106 at 16-21 (Juror 474, work trip); 50-53 (Juror 846, preplanned
trip).
        5
         Nine of the 19 stricken jurors were excused based on hardship or a religious belief. See
Webster, No. 21-cr-208, ECF No. 113 at 46 (Juror 1464), 49-50 (Juror 1132), 61 (Juror 1153), 68
(Juror 951), 78 (Juror 419); Webster, No. 21-cr-208, ECF No. 114 at 102-04, 207, 217 (Juror 571),
188 (Juror 1114), 191 (Juror 176), 203-04 (Juror 1262). Of the ten other stricken jurors, three
professed an ability to be impartial but were nevertheless stricken based on a connection to the
events or to the U.S. Attorney’s Office. See Webster, No. 21-cr-208, ECF No. 113 at 58-60 (Juror


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actually relatively low” and therefore “doesn’t bear out the concerns that were at root in the venue

transfer motion” in that case. Webster, No. 21-cr-208, ECF No. 115 at 7.

        In Hale-Cusanelli, the Court individually examined 47 prospective jurors and qualified 32

of them (or 68%). Hale-Cusanelli, No. 21-cr-37, ECF No. 91 at 106, 111. The Court asked

prospective jurors questions similar to those asked in the other trials. See Hale-Cusanelli, No. 21-

cr-37, ECF No. 90 at 72-74 (Questions 16, 20). Of the 15 prospective jurors struck for cause, 11

(or 23% of those examined) were stricken based on a connection to the events of January 6 or a

professed inability to be impartial. 6

        In these first five jury trials, the percentage of prospective jurors stricken for cause based

on partiality is far lower than in Irvin, where the Supreme Court said that “statement[s] of

impartiality” by some prospective jurors could be given “little weight” based on the number of

other prospective jurors who “admitted prejudice.” Irvin, 366 U.S. at 728. In Irvin, 268 of 430

prospective jurors (or 62%) were stricken for cause based on “fixed opinions as to the guilt of

petitioner.” Id. at 727. The percentage of partiality-based strikes in these first five January 6-

related jury trials—between 9% and 23% of those examined—is far lower than the 62% in Irvin.

The percentage in these cases is lower even than in Murphy, where 20 of 78 prospective jurors

(25%) were “excused because they indicated an opinion as to petitioner’s guilt.” Murphy, 421

U.S. at 803. Murphy said that this percentage “by no means suggests a community with sentiment



689 was a deputy chief of staff for a member of congress); Webster, No. 21-cr-208, ECF No. 114
at 139-41 (Juror 625’s former mother-in-law was a member of congress); 196-98 (Juror 780 was
a former Assistant U.S. Attorney in D.C.).
        6
         See Hale-Cusanelli, No. 21-cr-37, ECF No. 90 at 61-62 (Juror 499), 67-68 (Juror 872),
84-85 (Juror 206), 91-94 (Juror 653); ECF No. 91 at 2-5 (Juror 1129), 32 (Juror 182), 36 (Juror
176), 61-62 (Juror 890), 75-78 (Juror 870), 94-97 (Juror 1111), 97-104 (Juror 1412). For the four
jurors excused for hardship, see Hale-Cusanelli, No. 21-cr-37, ECF No. 90 at 77-79 (Juror 1524),
99 (Juror 1094); ECF No. 91 at 12 (Juror 1014), 31 (Juror 899).


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so poisoned against petitioner as to impeach the indifference of jurors who displayed no animus

of their own.” Id. As in Murphy, the number of prospective jurors indicating bias does not call

into question the qualifications of others whose statements of impartiality the Court has credited.

       Far from showing that “an impartial jury actually cannot be selected,” Haldeman, 559 F.2d

at 63, the first five January 6-related jury trials have confirmed that voir dire can adequately screen

out prospective jurors who cannot be fair and impartial, while leaving more than sufficient

qualified jurors to hear the case. The Court should deny the defendant’s request for a venue

transfer and should instead rely on a thorough voir dire to protect the defendant’s right to an

impartial jury.

                                          CONCLUSION

       For the foregoing reasons, the defendants’ motions to transfer venue should be denied.

                                               Respectfully submitted,

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